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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re
                                                Chapter 11
NEW CENTURY TRS HOLDINGS,                       Case No. 07-10416-KJC, et seq.
INC., et al.,
                                                Objections due by: April 29, 2008, 4:00 p.m.
                                                Hearing Date: May 07, 2008 at 10:00 a.m.
                      Debtors.


                     ORDER TERMINATING AUTOMATIC STAY
                  UNDER SECTION 362 OF THE BANKRUPTCY CODE
                            (relates to Docket No. ____)

        UPON CONSIDERATION of the Motion for Relief from Automatic Stay Under Section

362 of the Bankruptcy Code (the “Motion”) filed by U.S. Bank National Association, as Trustee

for Home Equity Loan Trust 2005-HE2, by Saxon Mortgage Services Inc. as its attorney-in-fact

(“Movant”), and any response thereto; the Court having determined that (A) the Court has

jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (B) this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); (C) venue is proper pursuant to 28 U.S.C. § 1409(a); and (D)

service to the limited parties stated on the Certificate of Service is adequate under the

circumstances; and the Court having further determined that cause exists to grant Movant relief

from the automatic stay with respect to Movant’s exercise of any rights and remedies against

each parcel of real property listed on Exhibit A hereof (each a “Property,” and collectively, the

“Properties”) under applicable non-bankruptcy law; it is HEREBY ORDERED as follows:

        1.     The Motion is hereby GRANTED. All capitalized terms not otherwise defined

herein shall have the respective meanings set forth in the Motion.

        2.     To the extent that the automatic stay is applicable, Movant is hereby granted relief

from the automatic stay, and the automatic stay is terminated, pursuant to 11 U.S.C. § 362(d),
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with respect to Movant’s interest in the Properties. Movant is hereby permitted to exercise its

rights under applicable non-bankruptcy law against each of the Properties, including but not

limited to foreclosure of any Mortgage relating to such Properties.

        3.      Nothing in this order (i) shall constitute a determination that the Debtors hold any

interest in the Property or (ii) shall estop the Debtors from denying that they hold any interest in

the Property.

        4.      This Order is immediately effective and is not stayed by operation of law,

notwithstanding the stay provisions of Fed. R. Bankr. P. 4001(a)(3).



Date:
        Wilmington, Delaware                  HONORABLE KEVIN J. CAREY
                                              UNITED STATES BANKRUPTCY JUDGE




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